Case 1:04-cv-01239-.]DT-STA Document 17 Filed 04/19/05 Page 1 of 3 Page|D 15

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UNITED sTATES DISTRICT COURT U‘:D BY_*¥- D-C‘

WESTERN DISTRICT OF TENNESSEE 05 APR lg PH lt 57
EASTERN DIVISION '

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W.D fin `i`."¢ »JAC.“§S'C)C|\E|Tl

   
  

CATHY TURNBOW,
Plaintiff

vs. Civil Action No. 04-1239-T

JO ANNE B. BARNHART,
COMMISSIONER OF
SOCIAL SECURITY,

Defendant

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FINAL IUDGMENT REVERSING COMMIS SIONER AND
OR.DERING REMAND UNDER SENTENCE FOUR OF 42 U.S.C. ii 405 (g)

latter reviewing the above-captioned case, agency counsel requested that the Appeals Council
undertake further review of this case, which it agreed to do. Accordingly, the parties jointly propose
that this case be reversed and remanded pursuant to sentence four of 42 U.S.C. § 405(g) for further
consideration and a new hearing.

IT IS THEREFORE ORDER.ED that the Commissioner’s decision is reversed and the matter

remanded under sentence four of 42 U.S.C. § 405(g) for further development Upon remand, the

Appeals Council will instruct the administrative law judge (“AL ”) to conduct a new hearing and
issue a new decision, wherein he will properly evaluate the opinion of Plaintiff’ s treating physician,
Stanley B. Kaplan, M.D., and specifically articulate the reasons for the weight given to such opinion.
The ALJ did not mention Dr. Kaplan or indicate What weight, if any, was given to his opinion, nor
did he include Dr. Kaplan’s limitations Within his residual functional capacity finding (“RFC”).
Upon remand, the ALJ will also be instructed to re-contact Dr. Kaplan for clarification of his
responses to a Physical Residual Functional Capacity Questionnaire dated November ll, 2003.
Aclditionally, the Appeals Council will direct the ALJ to re-evaluate Plaintiff’ s ability to perform her
past relevant work. The ALJ found that Plaintiff could perform her past work as a hand packager,

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with Ru|e 55 and!or 79 (a) FRCP on ‘

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but according to the regulations, her earnings record shows that she did not perform that job at the

level of substantial gainful activity. g `

Upon remand, the Commissioner shall take action consistent with the foregoing

 

SO ORDERED.
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Date J ames IYTodd
United States District Court Judge
APPROVED BY:
T?..
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This notice confirms a copy ofthe document docketed as number l7 in
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Honorable J ames Todd
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